









Petition for Writ of Mandamus Dismissed in Part and Denied in Part and
Memorandum Opinion filed December 18, 2003









Petition for Writ of Mandamus Dismissed
in Part and Denied in Part and Memorandum Opinion filed December 18, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01340-CV

____________

&nbsp;

IN RE LEE NICHOLS MCNAB MILLER, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On December 1, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; Relator&nbsp; seeks relief from
the actions of two known judges and two unknown judges who presided in the
179th District Court, the current and former Harris County District Attorney,
the State of Texas and its agents, and all law enforcement agencies.

This court is empowered to issue writs of mandamus against
judges of district courts, but may not issue writs against other parties unless
necessary to enforce our jurisdiction.&nbsp; Tex. Gov=t Code Ann. ' 22.221(a)-(b) (Vernon Supp.
2003).&nbsp; Because relator
does not allege that the current and former District Attorney, the State of
Texas and it agents, or the unspecified law enforcement agencies are
interfering with this court=s jurisdiction, we must dismiss the proceeding, as it relates
to these parties, for lack of jurisdiction.&nbsp;&nbsp;









As for the judges of the 179th District Court, relator challenges the rulings on pretrial motions and his
conviction.&nbsp; Relator
had an adequate remedy by appeal.&nbsp;
Accordingly, he is not entitled to mandamus relief.&nbsp; Accordingly, as the petition concerns judges
of the 179th District Court, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition
Dismissed in Part and Denied in Part and Memorandum Opinion filed December 18,
2003.

Panel consists of
Justices Yates, Hudson, and Fowler.





